Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 1 of 54




                                                                         001
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 2 of 54




                                                                         002
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 3 of 54




                                                                         003
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 4 of 54




                                                                         004
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 5 of 54




                                                                         005
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 6 of 54




                                                                         006
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 7 of 54




                                                                         007
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 8 of 54




                                                                         008
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 9 of 54




                                                                         009
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 10 of 54




                                                                          010
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 11 of 54




                                                                          011
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 12 of 54




                                                                          012
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 13 of 54




                                                                          013
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 14 of 54




                                                                          014
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 15 of 54




                                                                          015
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 16 of 54




                                                                          016
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 17 of 54




                                                                          017
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 18 of 54




                                                                          018
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 19 of 54




                                                                          019
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 20 of 54




                                                                          020
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 21 of 54




                                                                          021
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 22 of 54




                                                                          022
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 23 of 54




                                                                          023
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 24 of 54




                                                                          024
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 25 of 54




                                                                          025
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 26 of 54




                                                                          026
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 27 of 54




                                                                          027
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 28 of 54




                                                                          028
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 29 of 54




                                                                          029
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 30 of 54




                                                                          030
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 31 of 54




                                                                          031
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 32 of 54




                                                                          032
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 33 of 54




                                                                          033
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 34 of 54




                                                                          034
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 35 of 54




                                                                          035
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 36 of 54




                                                                          036
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 37 of 54




                                                                          037
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 38 of 54




                                                                          038
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 39 of 54




                                                                          039
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 40 of 54




                                                                          040
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 41 of 54




                                                                          041
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 42 of 54




                                                                          042
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 43 of 54




                                                                          043
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 44 of 54




                                                                          044
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 45 of 54




                                                                          045
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 46 of 54




                                                                          046
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 47 of 54




                                                                          047
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 48 of 54




                                                                          048
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 49 of 54




                                                                          049
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 50 of 54




                                                                          050
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 51 of 54




                                                                          051
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 52 of 54




                                                                          052
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 53 of 54




                                                                          053
Case 4:16-cv-01737 Document 1-1 Filed in TXSD on 06/16/16 Page 54 of 54




                                                                          054
